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                                                                       APPEAL,CLOSED,TYPE−D
                                  U.S. District Court
                       District of Columbia (Washington, DC)
                  CIVIL DOCKET FOR CASE #: 1:20−cv−01395−RC

MCCARTHY et al v. PELOSI et al                             Date Filed: 05/26/2020
Assigned to: Judge Rudolph Contreras                       Date Terminated: 08/07/2020
Cause: 28:2201 Injunction                                  Jury Demand: None
                                                           Nature of Suit: 440 Civil Rights: Other
                                                           Jurisdiction: U.S. Government Defendant
Plaintiff
KEVIN OWEN MCCARTHY                          represented by Harold Smith Reeves
The Honorable, in his official capacity as                  COOPER & KIRK, PLLC
House Minority Leader and Member of                         1523 New Hampshire Ave, NW
the United States House of                                  Washington, DC 20036
Representatives for the California 23rd                     (202) 220−9600
Congressional District                                      Email: hreeves@cooperkirk.com
                                                            ATTORNEY TO BE NOTICED

                                                           Jose Joel Alicea
                                                           COOPER & KIRK, PLLC
                                                           1523 New Hampshire Ave, NW
                                                           Washington, DC 20036
                                                           (202) 220−9600
                                                           Email: jalicea@cooperkirk.com
                                                           ATTORNEY TO BE NOTICED

                                                           Michael W. Kirk
                                                           COOPER & KIRK, PLLC
                                                           1523 New Hampshire Avenue, NW
                                                           Washington, DC 20036
                                                           (202) 220−9600
                                                           Fax: (202) 220−9601
                                                           Email: mkirk@cooperkirk.com
                                                           ATTORNEY TO BE NOTICED

                                                           Charles Justin Cooper
                                                           COOPER & KIRK, PLLC
                                                           1523 New Hampshire Ave, NW
                                                           Washington, DC 20036
                                                           (202) 220−9660
                                                           Fax: (202) 220−9601
                                                           Email: ccooper@cooperkirk.com
                                                           ATTORNEY TO BE NOTICED

Plaintiff
CHARLES EUGENE ROY                           represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED

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Representatives for the Texas 21st
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
STEPHEN JOSEPH SCALISE                       represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Minority Whip and Member of the United                      ATTORNEY TO BE NOTICED
States House of Representatives for the
Louisiana 1st Congressional District                     Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
ELIZABETH LYNN CHENEY                        represented by Harold Smith Reeves
The Honorable, in her official capacity as                  (See above for address)
House Republican Conference Chair and                       ATTORNEY TO BE NOTICED
Member of the United States House of
Representatives for the Wyoming                          Jose Joel Alicea
Congressional District                                   (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
JAMES DANIEL JORDAN                          represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Ranking Member of the House Committee                       ATTORNEY TO BE NOTICED

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on the Judiciary and Member of the
United States House of Representatives                   Jose Joel Alicea
for the Ohio 4th Congressional District                  (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
JAMES MICHAEL JOHNSON                        represented by Harold Smith Reeves
in his official capacity as Ranking                         (See above for address)
Member of the House Subcommittee on                         ATTORNEY TO BE NOTICED
the Constitution Civil Rights, and Civil
Liberties, Chairman of the Republican                    Jose Joel Alicea
Study Committee, and Member of the                       (See above for address)
United States House of Representatives                   ATTORNEY TO BE NOTICED
for the Louisiana 4th
                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
THOMAS JEFFREY COLE                          represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Ranking Member of the House Committee                       ATTORNEY TO BE NOTICED
on Rules and Member of the United States
House of Representatives for the                         Jose Joel Alicea
Oklahoma 4th Congressional District                      (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
RODNEY LEE DAVIS                             represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Ranking Member of the House Committee                       ATTORNEY TO BE NOTICED

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on Administration and Member of the
United States House of Representatives                   Jose Joel Alicea
for the Illinois 13th Congressional                      (See above for address)
District                                                 ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
ANDREW STEVEN BIGGS                          represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Chairman of the House Freedom Caucus                        ATTORNEY TO BE NOTICED
and Member of the United States House
of Representatives for the Arizona 5th                   Jose Joel Alicea
Congressional District                                   (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
RUSSELL MARK FULCHER                         represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Idaho 1st
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
WARREN EARL DAVIDSON                         represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED

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Representatives for the Ohio 8th
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
MICHAEL JONATHAN CLOUD                       represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Texas 27th
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
MARK EDWARD GREEN                            represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Tennessee 7th
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
JODY BROWNLOW HICE                           represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED

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Representatives for the Georgia 10th
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
DEBRA KAY LESKO                              represented by Harold Smith Reeves
The Honorable, in her official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Arizona 8th
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
ANDREW PETER HARRIS                          represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Maryland 1st
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
JEFFREY DARREN DUNCAN                        represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED

                                                                                      6
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Representatives for the South Carolina
3rd Congressional District                               Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
RONALD JACK WRIGHT                           represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Texas 6th
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
SCOTT GORDON PERRY                           represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Pennsylvania 10th
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
BRADLEY ROBERTS BYRNE                        represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED

                                                                                      7
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Representatives for the Alabama 1st
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
GLEN CLAY HIGGINS                            represented by Harold Smith Reeves
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Louisiana 3rd
Congressional District                                   Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
LORINE SPRATT                                represented by Harold Smith Reeves
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                         Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
MICKIE J. NILAND                             represented by Harold Smith Reeves
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

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                                                         Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
ISABEL ALBARADO RUBIO                        represented by Harold Smith Reeves
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                         Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
CLAYTON D. CAMPBELL                          represented by Harold Smith Reeves
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                         Jose Joel Alicea
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Michael W. Kirk
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Charles Justin Cooper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
WILLIAM GREGORY STEUBE                       represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED

                                                                                      9
       Case 1:20-cv-01395-RC Document 33 Filed 08/10/20 Page 10 of 44


Representatives for the Florida 17th
Congressional District

Plaintiff
KENNETH MICHAEL CONAWAY                      represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Texas 11th
Congressional District

Plaintiff
THOMAS MILLER MCCLINTOCK                     represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the California 4th
Congressional District

Plaintiff
LANCE CARTER GOODEN                          represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Virginia 9th
Congressional District

Plaintiff
DOUGLAS LEE LAMALFA                          represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the California 1st
Congressional District

Plaintiff
ALL PLAINTIFFS                               represented by Charles Justin Cooper
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

Plaintiff
GREGORY JOSEPH PENCE                         represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Indiana 6th
Congressional District

Plaintiff
GREGORY FRANCIS MURPHY                       represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Texas 5th
Congressional District

                                                                                      10
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Plaintiff
JAMES SHIPLEY SWAYZE                         represented by Charles Justin Cooper
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

Plaintiff
WILLIAM LESLIE JOHNSON                       represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Ohio 6th
Congressional District

Plaintiff
MICHAEL CLIFTON BURGESS                      represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Texas 26th
Congressional District

Plaintiff
BARRY DEAN LOUDERMILK                        represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Georgia 11th
Congressional District

Plaintiff
THEODORE SCOTT YOHO                          represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Florida 3rd
Congressional District

Plaintiff
DAVID S. SCHWEIKERT                          represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Arizona 6th
Congressional District

Plaintiff
MICHAEL DENNIS ROGERS                        represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Alabama 3rd
Congressional District

Plaintiff


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FREDERICK B. KELLER                          represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Pennsylvania 12th
Congressional District

Plaintiff
GUY LORIN RESCHENTHALER                      represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Pennsylvania 14th
Congressional District

Plaintiff
MICHAEL RAY TURNER                           represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Ohio 10th
Congressional District

Plaintiff
HOWARD GRIFFITH                              represented by Charles Justin Cooper
The Honorable, "Morgan", in his official                    (See above for address)
capacity as a Member of the United                          ATTORNEY TO BE NOTICED
States House of Representatives for the
Virginia 9th Congressional District

Plaintiff
NORVELL GRANGER                              represented by Charles Justin Cooper
The Honorable, in her official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Texas 12th
Congressional District

Plaintiff
GEORGE EDWARD BELL                           represented by Charles Justin Cooper
HOLDING                                                     (See above for address)
The Honorable, in his official capacity as                  ATTORNEY TO BE NOTICED
Member of the United States House of
Representatives for the North Carolina
2nd Congressional District

Plaintiff
LEE MICHAEL ZELDIN                           represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the New York 1st
Congressional District



                                                                                      12
       Case 1:20-cv-01395-RC Document 33 Filed 08/10/20 Page 13 of 44


Plaintiff
GARY JAMES PALMER                            represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Alabama 6th
Congressional District

Plaintiff
ROBERT JOSEPH WITTMAN                        represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Virginia 1st
Congressional District

Plaintiff
EARL LEROY CARTER                            represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Georgia 1st
Congressional District

Plaintiff
GLENN WILLIAM THOMPSON, JR.                  represented by Charles Justin Cooper
The Honorable, in his official capacity as                  (See above for address)
Member of the United States House of                        ATTORNEY TO BE NOTICED
Representatives for the Pennsylvania 15th
Congressional District

Plaintiff
VINCENT SPANO
The Honorable, "Ross" in his official
capacity as Member of the United States
House of Representatives for the Florida
5th Congressional District

Plaintiff
PAUL COOK
The Honorable, in his official capacity as
Member of the United States House of
Representatives for the California 8th
Congressional District

Plaintiff
CHRISTOPHER DOUGLAS
STEWART
The Honorable, "Chris", in his official
capacity as Member of the United States
House of Representatives for the Utah
2nd Congressional District

                                                                                      13
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Plaintiff
BRAD ROBERT WENSTRUP
The Honorable, in his official capacity as
Member of the United States House of
Representatives for the Ohio 2nd
Congressional District


V.
Defendant
NANCY PELOSI                                 represented by Douglas N. Letter
The Honorable, in her official capacity as                  U.S. HOUSE OF REPRESENTATIVES
Speaker of the House of Representatives                     Office of General Counsel
and Member of the United States House                       219 Cannon House Office Building
of Representatives for the California 12th                  Washington, DC 20515
Congressional District                                      (202) 225−9700
                                                            Email: douglas.letter@mail.house.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           Michael Richard Dreeben
                                                           O'MELVENY & MYERS LLP
                                                           1625 Eye Street, NW
                                                           Washington, DC 20006
                                                           202−383−5300
                                                           Email: mdreeben@omm.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Adam Anderson Grogg
                                                           U.S. HOUSE OF REPRESENTATIVES
                                                           Office of General Counsel
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                                                           (202) 225−9700
                                                           Email: adam.grogg@mail.house.gov
                                                           ATTORNEY TO BE NOTICED

                                                           Alec Schierenbeck
                                                           O'MELVENY & MYERS LLP
                                                           7 Times Square Tower
                                                           New York, NY 10036
                                                           212−326−2000
                                                           Email: aschierenbeck@gmail.com
                                                           ATTORNEY TO BE NOTICED

                                                           Anna O Mohan
                                                           O'MELVENY & MYERS LLP
                                                           1625 Eye Street, NW
                                                           Washington, DC 20006


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                                          Email: amohan@omm.com
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                                          Ephraim A McDowell
                                          O'MELVENY & MYERS LLP
                                          1625 Eye Street, NW
                                          Washington, DC 20006
                                          202−383−5300
                                          Email: emcdowell@omm.com
                                          ATTORNEY TO BE NOTICED

                                          Josephine T. Morse
                                          U.S. HOUSE OF REPRESENTATIVES
                                          Office of General Counsel
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                                          Washington, DC 20515
                                          (202) 225−9700
                                          Email: jodie.morse@mail.house.gov
                                          ATTORNEY TO BE NOTICED

                                          Kendall Turner
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                                          1625 Eye Street, NW
                                          Washington, DC 20006
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                                          Email: kendallturner@omm.com
                                          ATTORNEY TO BE NOTICED

                                          Megan Barbero
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                                          Washington, DC 20515
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                                          Email: megan.barbero@mail.house.gov
                                          ATTORNEY TO BE NOTICED

                                          Samantha Goldstein
                                          O'MELVENY & MYERS LLP
                                          1625 Eye Street, NW
                                          Washington, DC 20006
                                          202−383−5300
                                          Fax: 202−383−5414
                                          Email: sgoldstein2@omm.com
                                          ATTORNEY TO BE NOTICED

                                          William Havemann
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                                          Office of General Counsel
                                          219 Cannon House Office Building
                                          Washington, DC 20515


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                                                         202−225−9700
                                                         Email: wehavemann@gmail.com
                                                         ATTORNEY TO BE NOTICED

Defendant
CHERYL L. JOHNSON                            represented by Douglas N. Letter
The Honorable, in her official capacity as                  (See above for address)
Clerk of the United States House of                         LEAD ATTORNEY
Representatives                                             ATTORNEY TO BE NOTICED

                                                         Michael Richard Dreeben
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Adam Anderson Grogg
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Alec Schierenbeck
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Anna O Mohan
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Ephraim A McDowell
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Josephine T. Morse
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Kendall Turner
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Megan Barbero
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Samantha Goldstein
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         William Havemann
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Defendant

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PAUL D. IRVING                          represented by Douglas N. Letter
in his official capacity as                            (See above for address)
Sergeant−at−Arms of the United States                  LEAD ATTORNEY
House of Representatives                               ATTORNEY TO BE NOTICED

                                                      Michael Richard Dreeben
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Adam Anderson Grogg
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Alec Schierenbeck
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Anna O Mohan
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Ephraim A McDowell
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Josephine T. Morse
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Kendall Turner
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Megan Barbero
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Samantha Goldstein
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      William Havemann
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Movant
RAY E. PARKER                           represented by RAY E. PARKER
                                                       5021 Seminary Road
                                                       Suite 725
                                                       Alexandria, VA 22311
                                                       (703) 328−1015

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                                                           PRO SE


Date Filed   #   Page Docket Text
05/26/2020   1        COMPLAINT against All Defendants ( Filing fee $ 400 receipt number
                      ADCDC−7162388) filed by WARREN EARL DAVIDSON, GLEN CLAY
                      HIGGINS, THOMAS JEFFREY COLE, CHARLES EUGENE ROY,
                      JEFFREY DARREN DUNCAN, LORINE SPRATT, KEVIN OWEN
                      MCCARTHY, RONALD JACK WRIGHT, MICKIE J. NILAND, ANDREW
                      PETER HARRIS, MARK EDWARD GREEN, CLAYTON D. CAMPBELL,
                      JAMES MICHAEL JOHNSON, STEPHEN JOSEPH SCALISE, ANDREW
                      STEVEN BIGGS, MICHAEL JONATHAN CLOUD, BRADLEY ROBERTS
                      BYRNE, JODY BROWNLOW HICE, DEBRA KAY LESKO, RODNEY LEE
                      DAVIS, ELIZABETH LYNN CHENEY, ISABEL ALBARADO RUBIO,
                      SCOTT GORDON PERRY, RUSSELL MARK FULCHER, JAMES DANIEL
                      JORDAN. (Attachments: # 1 Civil Cover Sheet, # 2 Summons (Pelosi), # 3
                      Summons (Johnson), # 4 Summons (Irving))(Cooper, Charles) (Entered:
                      05/26/2020)
05/26/2020   2        NOTICE of Appearance by Michael W. Kirk on behalf of All Plaintiffs (Kirk,
                      Michael) (Entered: 05/26/2020)
05/26/2020   3        NOTICE of Appearance by Harold Smith Reeves on behalf of All Plaintiffs
                      (Reeves, Harold) (Entered: 05/26/2020)
05/26/2020   4        NOTICE of Appearance by Jose Joel Alicea on behalf of All Plaintiffs (Alicea,
                      Jose) (Entered: 05/26/2020)
05/27/2020            Case Assigned to Judge Rudolph Contreras. (adh, ) (Entered: 05/27/2020)
05/27/2020   5        SUMMONS (3) Issued Electronically as to PAUL D. IRVING, CHERYL L.
                      JOHNSON, NANCY PELOSI. (Attachment: # 1 Notice and Consent)(adh, )
                      (Entered: 05/27/2020)
05/28/2020   6        RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                      PAUL D. IRVING served on 5/27/2020; CHERYL L. JOHNSON served on
                      5/27/2020; NANCY PELOSI served on 5/27/2020 (Attachments: # 1 Affidavit,
                      # 2 Affidavit)(Cooper, Charles) (Entered: 05/28/2020)
05/29/2020   7        AMENDED COMPLAINT against All Defendants filed by GLEN CLAY
                      HIGGINS, THOMAS JEFFREY COLE, CHARLES EUGENE ROY,
                      JEFFREY DARREN DUNCAN, KEVIN OWEN MCCARTHY, RONALD
                      JACK WRIGHT, ANDREW PETER HARRIS, CLAYTON D. CAMPBELL,
                      BRADLEY ROBERTS BYRNE, JODY BROWNLOW HICE, ISABEL
                      ALBARADO RUBIO, RUSSELL MARK FULCHER, WARREN EARL
                      DAVIDSON, LORINE SPRATT, MARK EDWARD GREEN, MICKIE J.
                      NILAND, JAMES MICHAEL JOHNSON, STEPHEN JOSEPH SCALISE,
                      ANDREW STEVEN BIGGS, MICHAEL JONATHAN CLOUD, DEBRA
                      KAY LESKO, RODNEY LEE DAVIS, ELIZABETH LYNN CHENEY,
                      SCOTT GORDON PERRY, JAMES DANIEL JORDAN, WILLIAM
                      GREGORY STEUBE, KENNETH MICHAEL CONAWAY, THOMAS
                      MILLER MCCLINTOCK, LANCE CARTER GOODEN, DOUGLAS LEE
                      LAMALFA, ALL PLAINTIFFS, GREGORY JOSEPH PENCE, GREGORY
                      FRANCIS MURPHY, JAMES SHIPLEY SWAYZE, WILLIAM LESLIE

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                   JOHNSON, MICHAEL CLIFTON BURGESS, BARRY DEAN
                   LOUDERMILK, THEODORE SCOTT YOHO, DAVID S. SCHWEIKERT,
                   MICHAEL DENNIS ROGERS, FREDERICK B. KELLER, GUY LORIN
                   RESCHENTHALER, MICHAEL RAY TURNER, HOWARD GRIFFITH,
                   NORVELL GRANGER, GEORGE EDWARD BELL HOLDING, LEE
                   MICHAEL ZELDIN, GARY JAMES PALMER, ROBERT JOSEPH
                   WITTMAN, EARL LEROY CARTER, GLENN WILLIAM THOMPSON, JR.
                   (Attachments: # 1 Exhibit Redline of Original Complaint)(Cooper, Charles)
                   (Entered: 05/29/2020)
05/29/2020   8     MOTION for Preliminary Injunction and for Entry of a Permanent Injunction
                   and Final Judgment by ALL PLAINTIFFS (Attachments: # 1 Memorandum in
                   Support, # 2 Declaration of Clayton D. Campbell, # 3 Declaration of Mickie J.
                   Niland, # 4 Declaration of Isabel Albarado Rubio, # 5 Declaration of Lorine
                   Spratt, # 6 Declaration of James Shipley Swayze, # 7 Text of Proposed
                   Order)(Cooper, Charles). Added MOTION for Permanent Injunction, MOTION
                   for Entry of Final Judgment on 6/1/2020 (znmw). (Entered: 05/29/2020)
05/29/2020   9     MOTION to Expedite Hearing on Motion for Preliminary Injunction and for
                   Entry of a Permanent Injunction and Final Judgment by ALL PLAINTIFFS
                   (Attachments: # 1 Text of Proposed Order)(Cooper, Charles) (Entered:
                   05/29/2020)
05/29/2020   10    NOTICE of Appearance by Douglas N. Letter on behalf of All Defendants
                   (Letter, Douglas) (Entered: 05/29/2020)
05/30/2020   11    RESPONSE re 9 MOTION to Expedite Hearing on Motion for Preliminary
                   Injunction and for Entry of a Permanent Injunction and Final Judgment filed
                   by PAUL D. IRVING, CHERYL L. JOHNSON, NANCY PELOSI.
                   (Attachments: # 1 Text of Proposed Order)(Letter, Douglas) (Entered:
                   05/30/2020)
06/01/2020         MINUTE ORDER granting, in part, 9 Plaintiffs' Motion to Expedite Hearing. It
                   is hereby ORDERED that Defendants shall file their opposition to Plaintiffs'
                   Motion for Preliminary Injunction and their cross−dispositive motion on or
                   before June 19, 2020; Plaintiffs shall file their reply in support of their motion
                   and opposition to Defendants motion on or before July 3, 2020; Defendants
                   shall file their reply on or before July 10, 2020. It is FURTHER ORDERED
                   that the parties shall appear before the Court for a hearing on July 24, 2020 at
                   2:00 PM (tentatively set for Courtroom 14 but, if the matter is converted to a
                   telephone hearing, specific call−in instructions will follow by email). SO
                   ORDERED. Signed by Judge Rudolph Contreras on 06/01/2020. (lcrc3)
                   (Entered: 06/01/2020)
06/01/2020         Set/Reset Deadlines: Opposition and Cross Dispositive Motions due by
                   6/19/2020; Response to Dispositive Motions due by 7/3/2020; Reply to
                   Dispositive Motions due by 7/10/2020; Preliminary Injunction Hearing set for
                   7/24/2020 at 02:00 PM by teleconference before Judge Rudolph Contreras.) (tj)
                   (Entered: 06/01/2020)
06/08/2020   12    MOTION for Leave to File Amicus Brief by RAY E. PARKER. (Attachments:
                   # 1 Exhibit − Amicus Brief, # 2 Text of Proposed Order) (ztth) (Entered:
                   06/10/2020)
06/08/2020   13    NOTICE by RAY E. PARKER (ztth) (Entered: 06/10/2020)

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06/11/2020   14    Consent MOTION for Leave to File Excess Pages by PAUL D. IRVING,
                   CHERYL L. JOHNSON, NANCY PELOSI (Attachments: # 1 Text of
                   Proposed Order)(Letter, Douglas) (Entered: 06/11/2020)
06/11/2020         MINUTE ORDER granting 14 Defendants' Consent Motion for Leave to
                   Exceed Page Limits. It is hereby ORDERED that Defendants' opposition to
                   Plaintiffs' motion for preliminary injunction and for entry of a permanent
                   injunction and final judgment, and cross−dispositive motion (due June 19) is
                   not to exceed 60 pages; Plaintiffs' reply and opposition (due July 3) is not to
                   exceed 35 pages; Defendants' reply (due July 10) is not to exceed 20 pages. SO
                   ORDERED. Signed by Judge Rudolph Contreras on 06/11/2020. (lcrc3)
                   (Entered: 06/11/2020)
06/19/2020   15    Memorandum in opposition to re 8 MOTION for Preliminary Injunction and for
                   Entry of a Permanent Injunction and Final Judgment MOTION for Permanent
                   Injunction MOTION for Entry of Final Judgment filed by PAUL D. IRVING,
                   CHERYL L. JOHNSON, NANCY PELOSI. (Attachments: # 1 Text of
                   Proposed Order)(Letter, Douglas) (Entered: 06/19/2020)
06/19/2020   16    MOTION to Dismiss or, in the Alternative, MOTION for Entry of Final
                   Judgment by PAUL D. IRVING, CHERYL L. JOHNSON, NANCY PELOSI
                   (Attachments: # 1 Defendants' Memorandum of Law in Opposition to Plaintiffs'
                   Application for a Preliminary Injunction and for Entry of a Permanent
                   Injunction and Final Judgment; and in Support of Defendants' Motion to
                   Dismiss or, in the Alternative, for Final Judgment, # 2 Text of Proposed
                   Order)(Letter, Douglas) (Entered: 06/19/2020)
06/23/2020   17    NOTICE of Appearance by Kendall Turner on behalf of PAUL D. IRVING,
                   CHERYL L. JOHNSON, NANCY PELOSI (Turner, Kendall) (Entered:
                   06/23/2020)
06/24/2020   18    NOTICE of Appearance by Samantha Goldstein on behalf of PAUL D.
                   IRVING, CHERYL L. JOHNSON, NANCY PELOSI (Goldstein, Samantha)
                   (Entered: 06/24/2020)
06/24/2020   19    NOTICE of Appearance by Michael Richard Dreeben on behalf of PAUL D.
                   IRVING, CHERYL L. JOHNSON, NANCY PELOSI (Dreeben, Michael)
                   (Entered: 06/24/2020)
06/24/2020   20    NOTICE of Appearance by Ephraim A McDowell on behalf of PAUL D.
                   IRVING, CHERYL L. JOHNSON, NANCY PELOSI (McDowell, Ephraim)
                   (Entered: 06/24/2020)
06/24/2020   21    NOTICE of Appearance by Alec Schierenbeck on behalf of PAUL D. IRVING,
                   CHERYL L. JOHNSON, NANCY PELOSI (Schierenbeck, Alec) (Entered:
                   06/24/2020)
06/24/2020   22    NOTICE of Appearance by Anna O Mohan on behalf of PAUL D. IRVING,
                   CHERYL L. JOHNSON, NANCY PELOSI (Mohan, Anna) (Entered:
                   06/24/2020)
06/25/2020   23    NOTICE of Appearance by Adam Anderson Grogg on behalf of PAUL D.
                   IRVING, CHERYL L. JOHNSON, NANCY PELOSI (Grogg, Adam) (Entered:
                   06/25/2020)
07/03/2020   24

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                   REPLY to opposition to motion re 8 MOTION for Preliminary Injunction and
                   for Entry of a Permanent Injunction and Final Judgment MOTION for
                   Permanent Injunction MOTION for Entry of Final Judgment and Response in
                   Opposition to Defendants' Motion to Dismiss or, in the Alternative, for Entry of
                   Final Judgment filed by ALL PLAINTIFFS. (Attachments: # 1 Exhibit A
                   Quick Guide to Proxy Voting)(Cooper, Charles) (Entered: 07/03/2020)
07/03/2020   25    Memorandum in opposition to re 16 MOTION to Dismiss or, in the Alternative
                   MOTION for Entry of Final Judgment filed by ALL PLAINTIFFS. (See Docket
                   Entry 24 to view document) (ztth) (Entered: 07/06/2020)
07/10/2020   26    REPLY to opposition to motion re 16 MOTION to Dismiss or, in the
                   Alternative MOTION for Entry of Final Judgment filed by PAUL D. IRVING,
                   CHERYL L. JOHNSON, NANCY PELOSI. (Letter, Douglas) (Entered:
                   07/10/2020)
07/20/2020   27    NOTICE of Appearance by William Havemann on behalf of PAUL D.
                   IRVING, CHERYL L. JOHNSON, NANCY PELOSI (Havemann, William)
                   (Entered: 07/20/2020)
07/20/2020   28    NOTICE of Appearance by Josephine T. Morse on behalf of PAUL D.
                   IRVING, CHERYL L. JOHNSON, NANCY PELOSI (Morse, Josephine)
                   (Entered: 07/20/2020)
07/21/2020   29    NOTICE of Appearance by Megan Barbero on behalf of PAUL D. IRVING,
                   CHERYL L. JOHNSON, NANCY PELOSI (Barbero, Megan) (Entered:
                   07/21/2020)
07/24/2020         Minute Entry for proceedings held before Judge Rudolph Contreras: Motion
                   Hearing held on 7/24/2020 re 16 MOTION to Dismiss or, in the Alternative
                   MOTION for Entry of Final Judgment filed by CHERYL L. JOHNSON,
                   NANCY PELOSI, PAUL D. IRVING, and 8 MOTION for Preliminary
                   Injunction and for Entry of a Permanent Injunction and Final Judgment
                   MOTION for Permanent Injunction MOTION for Entry of Final Judgment filed
                   by ALL PLAINTIFFS. Oral argument heard, and motion taken under
                   advisement. (Court Reporter: Lisa Bankins.) (tj) (Entered: 07/24/2020)
08/06/2020   30    ORDER granting 16 Defendants' Motion to Dismiss; denying 8 Plaintiffs'
                   Motion for Preliminary Injunction. See document for details. Signed by Judge
                   Rudolph Contreras on 08/06/2020. (lcrc3) (Entered: 08/06/2020)
08/06/2020   31    MEMORANDUM OPINION granting 16 Defendants' Motion to Dismiss;
                   denying 8 Plaintiffs' Motion for Preliminary Injunction. See document for
                   details. Signed by Judge Rudolph Contreras on 08/06/2020. (lcrc3) (Entered:
                   08/06/2020)
08/07/2020   32    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 30 Order on Motion for
                   Preliminary Injunction, Order on Motion for Permanent Injunction, Order on
                   Motion for Entry of Final Judgment, Order on Motion to Dismiss, 31
                   Memorandum & Opinion by ALL PLAINTIFFS. Filing fee $ 505, receipt
                   number ADCDC−7439037. Fee Status: Fee Paid. Parties have been notified.
                   (Cooper, Charles) (Entered: 08/07/2020)




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


HON. KEVIN OWEN MCCARTHY, et al.,

                     Plaintiffs,

       v.
                                                   Civil Action No. 20-1395-RC
HON. NANCY PELOSI, et al.,


                     Defendants.



                                   NOTICE OF APPEAL

       Notice is hereby given this 7th day of August, 2020, that Plaintiffs, Hon. Kevin Owen

McCarthy, Hon. Charles Eugene Roy, Hon. Stephen Joseph Scalise, Hon. Elizabeth Lynne

Cheney, Hon. James Daniel Jordan, Hon. James Michael Johnson, Hon. Thomas Jeffrey Cole,

Hon. Rodney Lee Davis, Hon. Andrew Steven Biggs, Hon. Russell Mark Fulcher, Hon. Warren

Earl Davidson, Hon. Michael Jonathan Cloud, Hon. Mark Edward Green, Hon. Jody Brownlow

Hice, Hon. Debra Kay Lesko, Hon. Andrew Peter Harris, Hon. Jeffrey Darren Duncan, Hon.

Ronald Jack Wright, Hon. Scott Gordon Perry, Hon. Bradley Roberts Byrne, Hon. Glen Clay

Higgins, Hon. Michael Clifton Burgess, Hon. Theodore Scott Yoho, Hon. Howard Griffith, Hon.

Lance Carter Gooden, Hon. Gregory Francis Murphy, Hon. Norvell Granger, Hon. Glenn

William Thompson Jr., Hon. Earl Leroy Carter, Hon. Douglas Lee LaMalfa, Hon. Lee Michael

Zeldin, Hon. George Edward Bell Holding, Hon. Michael Ray Turner, Hon. Robert Joseph

Wittman, Hon. Kenneth Michael Conaway, Hon. Frederick B. Keller, Hon. David S. Schweikert,

Hon. William Gregory Steube, Hon. Gregory Joseph Pence, Hon. Guy Lorin Reschenthaler,

Hon. Michael Dennis Rogers, Hon. Gary James Palmer, Hon. Barry Dean Loudermilk, Hon.


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William Leslie Johnson, Hon. Thomas Miller McClintock, Hon. Vincent Spano, Hon. Paul

Cook, Hon. Christopher Douglas Stewart, Hon. Brad Robert Wenstrup, Hon. Michael Keith

Simpson, Hon. Addison Graves Wilson, Sr., Hon. William Luetkemeyer, Hon. Kenneth Stanton

Calvert, Hon. Garland Hale Barr IV, Hon. Timothy Floyd Burchett, Hon. John Robert

Moolenaar, Hon. Ralph Warren Norman Jr., Hon. Kevin Ray Hern, Hon. Charles Joseph

Fleischmann, Hon. Devin Gerald Nunes, Hon. Bradley Walker, Hon. Louis Buller Gohmert,

Hon. Robert Brian Gibbs, Hon. Timothy Lee Walberg, Hon. Morris Jackson Brooks, Hon. Ann

Louise Wagner, Hon. Brian Jeffery Mast, Hon. Markwayne Mullin, Hon. Robert Edward Latta,

Hon. Peter Thomas King, Hon. Alexander Xavier Mooney, Hon. Daniel Alan Webster, Hon.

Theodore Paul Budd, Hon. Richard Wayne Allen, Hon. Kenneth Robert Buck, Hon. James

Edward Banks, Hon. Michael Joseph Bost, Hon. Ronald Gene Estes, Hon. Cathy Anne

McMorris Rodgers, Hon. Steven Ernst Stivers, Hon. Denver Lee Riggleman III, Hon. Michael

Garcia, Hon. Stephen Allen Womack, Hon. Darin McKay LaHood, Hon. John Kelly, Hon.

Randall Keith Weber, Hon. James Hill, Hon. Douglas Allen Collins, Hon. Kevin Patrick Brady,

Hon. James Daniel Bishop, Hon. Michael Patrick Guest, Hon. Carol Devine Miller, Hon. Neal

Patrick Dunn, Hon. David Cheston Rouzer, Hon. Harold Dallas Rogers, Hon. Robert Brown

Aderholt, Hon. James Scott, Hon. Gregory Richard Gianforte, Hon. David Patrick Joyce, Hon.

Donald Edwin Young, Hon. John Williams, Hon. William Patrick Huizenga, Hon. William

Balderson, Hon. Gregory Paul Walden, Hon. Robert William Bishop, Hon. John Warren

Bergman, Hon. William Hose Flores Sr., Hon. Steven Charles Watkins Jr., Hon. Scott Randall

Tipton, Hon. George Joseph Kelly, Hon. David Phillip Roe, Hon. Jason Thomas Smith, Hon.

Paul Mitchell III, Hon. Jenniffer Aydin Gonzalez-Colon, Hon. Eric Alan Crawford, Hon.

Benjamin Lee Cline, Hon. Ralph Lee Abraham Jr., Hon. Brian Philip Babin, Hon. Kelly Michael



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Armstrong, Hon. Jacqueline R. Walorski, Hon. Steven McCarty Palazzo, Hon. Paul Anthony

Gosar, Hon. William Ballard Hurd, Hon. Steven Arnold King, Hon. Virginia Ann Foxx, Hon.

William Joseph Posey, Hon. Samuel Bruce Graves Jr., Hon. William Robert Woodall III, Hon.

Bruce Eugene Westerman, Hon. Thomas P. Tiffany, Hon. Nicholas Van Campen Taylor, Hon.

Bryan George Steil, Hon. Peter Allen Stauber, Hon. Frank James Sensenbrenner Jr., Hon. John

Henry Rutherford, Hon. John Williams Rose, Hon. Martha Kehres Roby, Hon. Peter Graham

Olson, Hon. Daniel Milton Newhouse, Hon. Daniel P. Meuser, Hon. Roger Wayne Marshall,

Hon. David Frank Kustoff, Hon. John Patrick Joyce, Hon. Richard Lane Hudson, Hon. Joseph

Albert Hollingsworth III, Hon. Vicky Jo Hartzler, Hon. James Lee Hagedorn, Hon. Steven Brett

Guthrie, Hon. Glenn S. Grothman, Hon. Garret Neal Graves, Hon. Michael John Gallagher, Hon.

Thomas Earl Emmer Jr., Hon. Scott Eugene DesJarlais, Hon. Daniel Reed Crenshaw, Hon. John

Rice Carter, Hon. Larry Dean Bucshon, Hon. Susan Lynn Wiant Brooks, Hon. Gus Michael

Bilirakis, Hon. Donald John Bacon, Hon. Jodey Cook Arrington, Lorine Spratt, Mickie J. Niland,

Isabel Albarado Rubio, James Shipley Swayze, and Clayton D. Campbell appeal to the United

States Court of Appeals for the District of Columbia Circuit from: (1) the Memorandum Opinion

(ECF No. 31) entered on August 6, 2020; and (2) the Order (ECF No. 30) entered on August 6,

2020 in this case.




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Date: August 7, 2020                 Respectfully submitted,

                                     /s/ Charles J. Cooper
                                     Charles J. Cooper (Bar No. 248070)
                                     ccooper@cooperkirk.com
                                     Michael W. Kirk (Bar No. 424648)
                                     Harold S. Reeves (Bar No. 459022)
                                     Jose Joel Alicea (Bar No. 1022784)
                                     COOPER & KIRK, PLLC
                                     1523 New Hampshire Avenue, N.W.
                                     Washington, D.C. 20036
                                     (202) 220-9600
                                     (202) 220-9601 (fax)

                                     Attorneys for Plaintiffs-Appellants




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

HON. KEVIN OWEN MCCARTHY, et al.,             :
                                              :
       Plaintiffs,                            :       Civil Action No.:     20-1395 (RC)
                                              :
       v.                                     :       Re Document Nos.:     8, 16
                                              :
HON. NANCY PELOSI, et al.,                    :
                                              :
       Defendants.                            :

                                          ORDER

     GRANTING DEFENDANTS’ MOTION TO DISMISS; DENYING PLAINTIFFS’ MOTION FOR

                                 PRELIMINARY INJUNCTION

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Defendants’ motion to dismiss (ECF No. 16) is GRANTED;

Plaintiffs’ motion for preliminary injunction (ECF No. 8) is DENIED.

       SO ORDERED.


Dated: August 6, 2020                                          RUDOLPH CONTRERAS
                                                               United States District Judge




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

HON. KEVIN OWEN MCCARTHY, et al.,                :
                                                 :
       Plaintiffs,                               :       Civil Action No.:      20-1395 (RC)
                                                 :
       v.                                        :       Re Document Nos.:      8, 16
                                                 :
HON. NANCY PELOSI, et al.,                       :
                                                 :
       Defendants.                               :

                                 MEMORANDUM OPINION

     GRANTING DEFENDANTS’ MOTION TO DISMISS; DENYING PLAINTIFFS’ MOTION FOR

                                   PRELIMINARY INJUNCTION

                                     I. INTRODUCTION

       On May 15, 2020, in response to the global health crisis caused by the COVID-19

pandemic, the United States House of Representatives (the “House”) adopted House Resolution

965, 116th Congress (“H. Res. 965”). The adopted resolution creates a framework by which

Members of the House may designate proxies to cast votes on their behalf based on their explicit

instructions. Plaintiffs—a group of House Members and constituents—filed suit seeking

declaratory judgment that H. Res. 965 is unconstitutional and an injunction against its continued

use in the House. Plaintiffs argue the resolution violates the Quorum Requirement, the Yeas and

Nays Requirement, the nondelegation doctrine, and the general structure of the United States

Constitution, which they maintain require actual physical presence to do the business of the

House. Am. Compl. ¶¶ 264–287, ECF No. 7. Defendants urge the Court not to reach the merits

of the case, arguing that various threshold doctrines bar review of Plaintiffs’ claims. Because the

Court finds that Defendants are immune from suit under the Speech or Debate Clause of the

Constitution, it does not reach the merits and grants Defendants’ Motion to Dismiss.




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                                      II. BACKGROUND

        COVID-19 is a “severe acute respiratory illness,” caused by a novel coronavirus

discovered in 2019, with no known cure, effective treatment, or vaccine. S. Bay United

Pentecostal Church, 140 S. Ct. 1613, 1613 (2020) (Roberts, C.J., concurring) (mem.). Millions

of people across the United States and the world have been infected and hundreds of thousands

have died from the disease. See Ctrs. for Disease Control and Prevention (“CDC”), Coronavirus

Disease 2019 (COVID-19): Cases in the U.S. (Aug. 1, 2020),

https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html. To prevent the

spread of infection, the CDC recommends keeping at least six feet distance between individuals

who do not live in the same household. See CDC, Coronavirus Disease 2019 (COVID-19): How

to Protect Yourself & Others (July 31, 2020), https://www.cdc.gov/coronavirus/2019-

ncov/prevent-getting-sick/prevention.html. During the pandemic, Congress had continued

working and has passed relief bills aimed at addressing the public health emergency, 1 but

Members have not been immune from the diseases’ spread. See Defs.’ Opp’n Mot. Prelim. Inj.

(“Defs.’ Opp’n”) at 13, ECF No. 16-1 (noting that eight Members of Congress have contracted

the virus).

        House Regulation 965 relates directly to COVID-19 and the novel coronavirus that

causes the disease. Specifically, H. Res. 965 allows the Speaker, after notification “by the

Sergeant-at-Arms, in consultation with the Attending Physician, that a public health emergency

due to a novel coronavirus is in effect,” to designate a period of time “during which a Member


        1
         See Coronavirus Preparedness and Response Supplemental Appropriations Act, Pub. L.
No. 116-123, 134 Stat. 146 (2020); Families First Coronavirus Response Act, Pub. L. No. 116-
127, 134 Stat. 178 (2020); Coronavirus Aid, Relief and Economic Security (CARES) Act, Pub.
L. No. 116-136, 134 Stat. 281 (2020); Paycheck Protection and Health Care Enhancement Act,
Pub. L. No. 116-139, 134 Stat. 620 (2020).


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who is designated by another Member as a proxy . . . may cast the vote of such other Member or

record the presence of such other Member in the House.” H. Res. 965 § 1(a). The period of time

designated by the speaker terminates after 45 days but may be extended if the public health

emergency remains in effect. Id. § 1(b). Proxies are designated by Members submitting a signed

letter to the Clerk that specifies the Member serving as the proxy. Id. § 2(a)(2). Designation

may be revoked at any time by submitting a signed letter to the Clerk and is automatically

revoked after a vote or a recording of the absent Member’s presence. Id. A Member may be

designated as a proxy for only up to ten other Members and the Clerk is charged with

maintaining a list of all designations. Id. § 2(a)(4)–(b). Members who have designated proxies

are “counted for the purpose of establishing a quorum under the rules of the House.” Id. § 3(b).

Members serving as proxies must (1) obtain “exact instruction from the other Member with

respect to such vote or quorum call,” (2) “announce the intended vote or recorded presence

pursuant to the exact instruction received from the other Member,” and (3) “cast such vote or

record such presence pursuant to the exact instruction received from the other Member.” Id.

§ 3(c). 2

            Plaintiffs sued on May 26, 2020 and filed an amended complaint on May 29, 2020. See

Am. Compl. On the same day, they filed for a preliminary injunction and for entry of a

permanent injunction and final judgment. See Pls.’ Mot. for Prelim. Inj. (“Pls.’ Mot.”), ECF No.

8. Defendants filed their opposition and a motion to dismiss on June 19, 2020. See Defs.’

Opp’n. The parties agree that the case presents purely legal questions regarding the justiciability




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        Defendants noted during oral argument that, as of July 24, 2020, a quorum has been
reached without counting the Members voting by proxy.


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of Plaintiffs’ claims and the correct interpretation of the Constitution. The Court held oral

argument on July 24, 2020 and has now fully considered the parties’ arguments.

                                          III. ANALYSIS

       Defendants argue that the Court should not reach the merits of Plaintiffs’ claims for three

primary reasons. First, Defendants claim that Plaintiffs lack standing because H. Res. 965 does

not result in vote dilution, the injury claimed by Plaintiffs. Second, Defendants argue that

Plaintiffs lack standing under Raines v. Byrd, 521 U.S. 811 (1997). Third, Defendants argue that

the Speech or Debate Clause bars the suit. The Court addresses each argument in turn but relies

only on the third to dismiss Plaintiffs’ Amended Complaint.

                                            A. Standing

       To establish standing under Article III of the Constitution, Plaintiffs—both the Members

and constituent Plaintiffs—must demonstrate that: (1) they have suffered an injury that is both

“concrete and particularized” and “actual or imminent,” rather than conjectural or hypothetical;

(2) the injury is fairly traceable to the challenged conduct; and (3) the injury is likely to be

redressed by a court decision in their favor. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61

(1992). When assessing Plaintiffs’ standing, the Court “must assume they will prevail on the

merits of their constitutional claims.” LaRoque v. Holder, 650 F.3d 777, 785 (D.C. Cir. 2011)

(citing Muir v. Navy Fed. Credit Union, 529 F.3d 1100, 1105 (D.C. Cir. 2006)).

                                          1. Vote Dilution

       To establish the injury element of standing, Plaintiffs argue that allowing Members to

vote by proxy dilutes their voting power. Am. Compl. ¶¶ 258–60. Because H. Res. 965 allows

a Member to serve as a proxy for up to ten other Members, Plaintiffs claim that the Member

serving as a proxy has a disproportionate share of voting power relative to the Members




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physically present not serving as proxies. Plaintiffs put forth the following hypothetical to

demonstrate:

       Suppose 200 Members vote on a measure on the floor of the House and another 50
       absent Members purport to vote by proxy under the H. Res. 965. If the Court
       assumes, as it must, that the proxy rule is unconstitutional, the proxy votes, as a
       matter of simple arithmetic, dilute the voting power of each of the Representative
       Plaintiffs from 1/200 of the House’s power to 1/250, indisputably inflicting a
       concrete injury.

Pls.’ Reply at 3, ECF No. 24. The rule, Plaintiffs claim, effectively amplifies the voting power

of Members serving as proxies and diminishes the power of Members physically present voting

only for themselves.

       Defendants respond that H. Res. 965 does not result in vote dilution because the text of

the rule “makes clear that each Member is entitled to one and only one vote.” Defs.’ Opp’n at

21. Plaintiffs, they argue, “urge the Court to ignore House Resolution 965’s text and interpret it

to mean that some Members are entitled to cast multiple votes.” Id. at 23. In response to

Plaintiffs’ hypothetical, Defendants say “each Member is constitutionally entitled to one vote out

of the total number of House Members (up to 435). Under the House’s rules, all Members

receive that share . . . [Under H. Res. 965], Plaintiffs’ votes weigh no less than before.” Defs.’

Reply at 3, ECF. No. 26. Because the proxy voting rules do not change Plaintiffs’ share of the

vote relative to the House as a whole, Defendants say that the alleged injury of vote dilution

cannot be established.

       In Michel v. Anderson, 3 the D.C. Circuit considered whether a House rule that granted

delegates from Puerto Rico, Guam, the Virgin Islands, American Samoa, and the District of

Columbia a right to vote in the Committee of the Whole violated the Constitution. 14 F.3d 623,


       3
         Whether Michel and other cases on legislative standing cited here remain good law in
the D.C. Circuit is discussed in Section III.A.2. below.


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624–25 (D.C. Cir. 1994). The court took as a given that Members of Congress had “standing to

assert their voting power has been diluted.” Id. at 625 (citing Vander Jagt v. O’Neill, 699 F.2d

1166 (D.C. Cir. 1982)). Instead, the court focused on whether the constituent plaintiffs had

standing to raise what the defendants called “a generalized abstract grievance” about their

Members’ voting power. Id. at 626. Finding the constituent plaintiffs did have standing, the

court stated “it is difficult to understand why voters would not have standing to raise a claim that

their vote was diluted because previously they had a right to elect a representative who cast one

of 435 votes, whereas now their vote elects a representative whose vote is worth only one in

440.” Id.

        In Vander Jagt, the court considered a claim from Members alleging that their voting

power had been diluted “by providing them with fewer seats on House committees and

subcommittees than they are proportionally owed.” 699 F.2d at 1167. Explaining the Members’

claim, the court stated that “[e]ven though Republicans constituted 44.14% of the House and

Democrats 55.86%, Republicans were given only 40% of the seats on the Budget Committee and

the Appropriations Committee, only 34.29% of the Ways and Means Committee seats, and only

31.25% of the Rules Committee seats.” Id. The court found standing had been established based

on the allegations that “as legislators and as voters their political power has been diluted.” Id. at

1168.

        In Skaggs v. Carle, a group of Members and constituents challenged a House rule that

required a three-fifths majority, instead of a simple majority, to pass any bill containing an

income tax increase. 110 F.3d 831, 833 (D.C. Cir. 1997). The plaintiffs argued they had

“standing to challenge the dilution of a Representative’s vote from one of 218 to one of 261

needed (assuming that all 435 Members vote) for the House to pass an income tax increase.” Id.




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at 834. The court, following Michel, held “that vote dilution is itself a cognizable injury” but

that the challenged rule did not in fact dilute voting power because a simple majority could vote

to bypass the new requirement. Id. at 835. While the dissenting judge disagreed with this

holding, he described the vote dilution injury similarly as “dilution of [Representatives’] votes

from 1/218th to 1/261st of the votes necessary to pass a tax increase.” Id. at 837 (Edwards, C.J.,

dissenting).

       Michel, Vander Jagt, and Skaggs all speak of voting power, and consequently the dilution

of that voting power, in similar terms; a Members’ voting power is defined relative to the entire

congressional body. See Michel, 14 F.3d at 626 (“a representative who cast one of 435

votes . . . is [now] worth only one in 440”); Vander Jagt, 699 F.2d at 1167 (noting smaller

percentages of committee seats “[e]ven though Republicans constituted 44.14% of the House and

Democrats 55.86%”) (emphasis added); Skaggs, 110 F.3d at 834 (“the dilution of a

Representative’s vote from one of 218 to one of 261 needed (assuming that all 435 Members

vote)”). The Court understands Plaintiffs argument to require a slightly different definition.

Rather than allege a dilution of voting power relative to the entire House, Plaintiffs allege

dilution of voting power relative to Members physically present for a particular vote. This

formulation of the injury requires assuming that Members are entitled to a share of the vote

defined by the number of Members voting in the House chamber. This theory of vote dilution

assumes that Members’ voting power is dynamic; for one vote, where some are absent, a

Member may enjoy 1/400th share while for another vote, where all are present, the share shrinks

to 1/435th share. The Court accepts that, as a practical reality, when fewer votes are counted

each vote carries more weight. But that does not mean Members’ voting power should

necessarily be defined dynamically.




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       The parties do not cite, and the Court has not found, any cases adopting Plaintiffs’ theory

of vote dilution. Every case discussed by the parties defines Member voting power relative to

the entire congressional body. The Court has doubts whether Members should be entitled to any

more than 1/435th share of the voting power in the House. See Nev. Comm’n on Ethics v.

Carrigan, 564 U.S. 117, 125–26 (2011) (“A legislator’s vote is the commitment of his

apportioned share of the legislature’s power to the passage or defeat of a particular proposal.”)

(emphasis added). Indeed, one could argue that choosing to abstain or to be entirely absent for a

particular vote are methods of expressing that share of congressional power; it is not clear that

Members should be subtracted from the denominator when they are not present. However,

because the Court relies on other jurisdictional grounds to dismiss this case, it need not resolve

whether Plaintiffs’ formulation of the vote dilution injury gives rise to standing.

                                         2. Raines v. Byrd

       Raines stands for the principle that an “abstract dilution of institutional legislative power”

cannot establish an injury for the purposes of Article III standing. 521 U.S. at 826. In a line of

cases predating Raines, the D.C. Circuit repeatedly found that Members of Congress had

standing to challenge actions that allegedly diminished the institutional power of Congress. See

e.g., Moore v. U.S. House of Representatives, 733 F.2d 946, 952–54 (D.C. Cir. 1984) (finding

Members had standing to challenge alleged interference with House right to originate bills for

raising revenue); Kennedy v. Sampson, 511 F.2d 430, 432–33 (D.C. Cir. 1974) (finding Senator

had standing to challenge pocket veto). In many of these cases, rather than dismissing the action

under the rubric of standing, the court held that the cases were nonjusticiable as a matter of

remedial discretion animated by separation-of-powers concerns. See Moore, 733 F.2d at 956;

Vander Jagt, 699 F.2d at 1174–75.




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       Having “never had occasion to rule on the question of legislative standing” raised by

these cases, 521 U.S. at 820, the Supreme Court in Raines considered whether Members of

Congress had standing to challenge the Line Item Veto Act, id. at 814. The Line Item Veto Act

allowed the President to cancel certain spending and tax benefit measures after he had signed a

bill into law. Id. Relying on D.C. Circuit precedent, the lower courts had found the Members

had standing to bring suit because they claimed that the legislation diluted their Article I voting

power—they claimed the line item veto allowed the President to circumvent Congress’s right to

vote on legislation prior to becoming law. Id. at 816–17. Emphasizing the “especially rigorous”

standing inquiry required when reviewing the constitutionality of the actions of another branch

of the Federal Government, id. at 819–20, the Court rejected the claim that an “institutional

injury (the diminution of legislative power)” gives rise to standing, id. at 821. The Court found

that the Members “ha[d] not been singled out for specially unfavorable treatment” and that their

claim was not “that they ha[d] been deprived of something to which they personally [were]

entitled.” Id. (emphasis in original). “[T]he abstract dilution of institutional legislative power”

was not sufficient to support standing under Article III. Id. at 826.

       The parties dispute the scope of Raines and its application to the present case.

Defendants argue that Raines and its progeny “establish that individual legislators cannot sue

based on an alleged dilution of their voting power.” Defs.’ Opp’n at 24. They claim that

Plaintiffs’ alleged injury—dilution of voting power—is the exact injury rejected in Raines. Id. at

25. Furthermore, and central to their position, Defendants argue Raines overruled Michel, the

primary case relied on by Plaintiffs to show standing. Id. at 28–29. Defendants note that Raines

cited Michel as a case the district court below relied on to find standing before overturning that

finding and “rejecting an approach that would base standing on ‘the abstract dilution of




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institutional legislative power.’” Id. at 28 (quoting Raines, 521 U.S. at 826). Defendants claim

that the holding in Raines squarely contradicts Michel and therefore Michel is no longer good

law. Id. at 29.

       Plaintiffs disagree. They state that “Defendants cite no D.C. Circuit decision endorsing

their view, which is not surprising because the D.C. Circuit has never said—much less held—

that Raines abrogated Michel or Vander Jagt.” Pls.’ Reply at 5. Plaintiffs maintain that the

Court must follow Michel unless “Supreme Court precedent ‘eviscerates’ the circuit precedent,

such that the two decisions are ‘incompatible with’ each other.” Id. at 5–6 (quoting Perry v.

Merit Sys. Prot. Bd., 829 F.3d 760, 764 (D.C. Cir. 2016), rev’d on other grounds, 137 S. Ct.

1975 (2017)). Plaintiffs argue Raines and Michel can coexist because Raines only foreclosed

claims of an “institutional injury” in an interbranch, as opposed to intrabranch, context. Pls.’

Reply at 7–9. D.C. Circuit cases following Raines make clear, they say, that the “holding is

limited to situations in which Members seek to vindicate the powers of Congress as an

institution, usually against a perceived attack on Congress’s powers by the President.” Id. at 8

(emphasis in original).

       Language in Raines and the D.C. Circuit cases applying its holding lend support to

Plaintiffs’ view. First, Raines left undisturbed the holding in Coleman v. Miller, 307 U.S. 433

(1939). The Raines Court explained that the legislators in Coleman had standing to sue because

the votes there “were deprived of all validity.” 4 521 U.S. at 822. While Plaintiffs have not



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         Coleman v. Miller involved state legislators challenging Kansas’s adoption of the Child
Labor Amendment to the Constitution where the legislative body had been evenly split on the
question, which would normally defeat the resolution, but the Lieutenant Governor cast the
deciding vote. 307 U.S. 433, 435–36. The Court found that the plaintiffs had standing, stating
that they “ha[d] a plain, direct and adequate interest in maintaining the effectiveness of their
votes.” Id. at 438.


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alleged a complete deprivation of their votes, the Raines Court’s treatment of Coleman carves

out space for at least some cases involving legislative standing to move forward. Second, and

more importantly for Plaintiffs, the Raines Court noted that the Members at issue in that case

were “unable to show that their vote was denied or nullified in a discriminatory manner (in the

sense that their vote was denied its full validity in relation to the votes of their colleagues),” so

hypotheticals such as a law “in which first-term Members were not allowed to vote on

appropriations bills” were inapplicable. Id. at 824 n.7 (internal quotations omitted). Arguably,

such hypotheticals are relevant to this case, even if proxy voting is not discriminatory in the

same manner. Such hypotheticals involve internal House rules that change the voting power of

Members relative to other Members. If Plaintiffs’ vote dilution theory is accepted, then they

have alleged that “their vote was denied its full validity in relation to the votes of their

colleagues.” Id. Moreover, Raines does not specifically state that Michel was overruled.

        In Chenoweth v. Clinton, the D.C. Circuit considered the impact of Raines on the circuit’s

legislative standing precedent. 181 F.3d 112, 115–16 (D.C. Cir. 1999). Lending support to

Plaintiffs’ interbranch/intrabranch distinction, Chenoweth involved Members challenging a

Presidential Executive Order and alleging a diminution of legislative power. Id. at 112–13. The

court stated that the injury the plaintiffs claimed, “a dilution of their authority as legislators,” was

“precisely the harm we held in Moore and Kennedy to be cognizable under Article III . . . [but]

also, however, identical to the injury the Court in Raines deprecated as ‘widely dispersed’ and

‘abstract.’” Id. at 115. As such, the court found that “the portions of our legislative standing

cases upon which the current plaintiffs rely are untenable in light of Raines.” Id. Notably,

Chenoweth does not mention Michel or Vander Jagt as cases repudiated by Raines.




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       In Campbell v. Clinton, Members challenged the President’s use of U.S. military forces

in Yugoslavia as violating the War Powers Clause of the Constitution and thereby diminishing

their legislative power. 203 F.3d 19, 19 (D.C. Cir. 2000). Applying Raines, the court found that

the Members lacked standing, in large part because of the “political self-help available to

congressmen.” Id. at 24. Lending support to Plaintiffs’ reading of Raines, the court noted an

exception to Raines may exist where, as in Coleman, legislators’ votes are entirely nullified. Id.

at 23. More importantly for Plaintiffs, Campbell cites Michel as a type of claim that Raines did

not foreclose. Id. at 21 n.2 (“The Court [in Raines] did not decide whether congressmen would

have standing to challenge actions of Congress which diminished their institutional role. Cf.

Michel v. Anderson, 14 F.3d 623 (D.C. Cir. 1992) (congressmen had standing to challenge House

rule which diluted their vote in Committee of the Whole).”). Campbell’s treatment of Michel

suggests that it survived Raines and remains binding precedent on this Court.

       An even more recent example, Blumenthal v. Trump, yet again involves a dispute

between Congress and the President, not a dispute between Members of Congress. 949 F.3d 14,

19 (D.C. Cir. 2020). There, Members argued that their institutional role had been diminished

because the President failed to obtain congressional consent before receiving Emoluments. Id.

Because the claim was “based entirely on the loss of political power,” the court could “resolve

th[e] case by simply applying Raines.” Id. According to the court, “only an institution can assert

an institutional injury provided the injury is not ‘wholly abstract and widely dispersed.’” Id. at

19–20 (citing Raines, 521 U.S. at 829). Like Chenoweth and Campbell, Blumenthal involved an

interbranch dispute with Members alleging an injury to Congress as a whole. As such, the facts

do not mirror the present case.




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        The broad principles undergirding Raines, Chenoweth, Campbell, and Blumenthal could

be applied to this case, but the Court is not convinced that Michel has been overruled. Raines

carved out space for claims like Coleman, where Members’ votes are stripped of all validity.

521 U.S. 823–24. Raines also did not rule on the viability of a claim about a House rule in

which “first-term Members were not allowed to vote on appropriations bills,” or other similar

rules. Id. at 824 n.7. And Campbell clarified, while citing Michel, that Raines “did not decide

whether congressmen would have standing to challenge actions of Congress which diminished

their institutional role.” 203 F.3d at 21 n.2. On the other hand, many portions of Raines suggest

that this case falls within its logic. See 521 U.S. at 819–20 (“our standing inquiry has been

especially rigorous when reaching the merits of the dispute would force us to decide whether an

action taken by one of the other two branches of the Federal Government was unconstitutional”);

id. at 821 (“appellees have not been singled out for specially unfavorable treatment”); id.

(“appellees do not claim that they have been deprived of something to which they personally are

entitled”); id. at 826 (“There is a vast difference between the level of vote nullification at issue in

Coleman and the abstract dilution of institutional legislative power that is alleged here.”). Be

that as it may, as a matter of district court restraint, the Court cannot contradict circuit precedent

because Michel was not necessarily eviscerated by Raines. However, because an independent

jurisdictional hurdle bars this claim, the Court need not resolve Raines’s applicability to this

case.

                                   B. Speech or Debate Clause

        The Speech or Debate Clause of the Constitution (the “Clause”) states that “for any

Speech or Debate in either House, [Members of Congress] shall not be questioned in any other

Place.” U.S. Const. art. I, § 6, cl. 1. The Clause “reflects the Founders’ belief in legislative




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independence.” Rangel v. Boehner, 785 F.3d 19, 23 (D.C. Cir. 2015) (citing United States v.

Brewster, 408 U.S. 501, 524 (1972)). The Clause “provides absolute immunity from civil suit”

and has been consistently read “broadly to achieve its purposes.” Id. (internal quotations

omitted) (citing Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 501–03 (1975)). To this end,

the Clause does not only apply to actual “Speech or Debate,” but also to all “legislative acts.”

Doe v. McMillan, 412 U.S. 306, 312 (1973). “Legislative acts” are “generally done in a session

of the House by one of its members in relation to the business before it,” Kilbourn v. Thompson,

103 U.S. 168, 204 (1880), and “must be an integral part of the deliberative and communicative

processes by which Members participate in committee and House proceedings with respect to the

consideration and passage or rejection of proposed legislation,” Gravel v. United States, 408

U.S. 606, 625 (1972). The Clause extends to aides and congressional staff carrying out

legislative acts. See Rangel, 785 F.3d at 24–25.

       Defendants argue that Plaintiffs’ challenge of H. Res. 965 falls squarely within the scope

of the Clause’s grant of immunity. Defendants claim the proxy vote rules regulate voting and

“voting by Members is a quintessential legislative act.” Defs.’ Opp’n at 35. And Defendants say

that Plaintiffs’ pleading against “the Speaker, the Clerk, and the Sergeant-at-Arms for their

administration of the proxy voting rules,” does not change the application of the Clause because

“execution of internal House rules is a ‘legislative’ act entitled to . . . immunity.” Id. (emphasis

in original). Defendants rely primarily on Consumers Union to argue that “enforcing internal

rules of Congress validly enacted under authority specifically granted to the Congress” enjoys

protection under the Clause. Id. (quoting Consumers Union v. Periodical Correspondents’

Ass’n, 515 F.2d 1341, 1350 (D.C. Cir. 1975)).




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       Plaintiffs draw a distinction between actual legislative acts and “executing a legislative

order, or carrying out [legislative] directions.” Pls.’ Reply at 16 (quoting Walker v. Jones, 733

F.2d 923, 931 (D.C. Cir. 1984) (alterations in second source). They point to Kilbourn, where the

Supreme Court held that the Clause did not bar a false imprisonment suit against the House

Sergeant-at-Arms for carrying out an arrest that the Court found was illegal. Id. at 15 (citing

Kilbourn, 103 U.S. at 196). Plaintiffs say Powell also supports their position because the Court

allowed claims against House employees—acting based on instructions from Members—to

move forward. Id. at 16 (citing Powell v. McCormack, 395 U.S. 486, 504–06 (1969)).

Administration of the proxy voting rules, Plaintiffs claim, falls “unquestionably on the

‘execution’ side of the line.” Id. at 17. They further argue that construing H. Res. 965 as

integral to the legislative process rejects the historical fact that proxy voting has never been used.

Id. at 17–18. Finally, Plaintiffs say that Consumers Union, which Plaintiffs’ counsel

acknowledged is Defendants’ best case during oral argument, is “readily distinguishable”

because the plaintiff there brought an as-applied challenge and because the rule at issue there, as

opposed to proxy voting, had a long history of use in Congress. See id. at 19.

       It is true that, in Walker v. Jones, the D.C. Circuit recognized the distinction explained by

Plaintiffs. The court highlighted the “decidedly jaundiced view toward extending the Clause” to

shield “executing a legislative order,” or “carrying out [legislative] directions.” Walker, 733

F.2d at 931–32 (quoting Gravel, 408 U.S. at 620–21(internal quotations omitted)). But the court

also stated that “[t]he key consideration, Supreme Court decisions teach, is the act presented for

examination, not the actor. Activities integral to the legislative process may not be examined.”

Id. at 929. In Walker, the court found that extending the Clause’s protection to the hiring and

firing of a food service manager would “stretch the meaning of the word [“legislative”] beyond




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sensible proportion.” Id. at 931. But this case does not involve a matter so far removed from the

legislative process. Applying the Clause here to the administration of rules governing how

Members can vote on legislation by proxy does not stretch the meaning of the word “legislative”

in a similar way or in any way at all.

       Consumers Union offers further guidance on the scope of the Clause. There, the plaintiff

sued the Sergeants-at-Arms of both the House and Senate challenging the constitutionality of

rules governing access to the press galleries of each chamber. 515 F.2d at 1342–46. The

plaintiff had been denied the accreditation required to access the press galleries and alleged that

the rules governing the galleries violated the First Amendment. Id. at 1342. The Sergeants-at-

Arms—like the Clerk and Sergeant-at-Arms in this case—were ultimately responsible for

enforcing the rules. Id. at 1345. The district court below had determined “that legislative

immunity by virtue of the Speech or Debate Clause did not attach to the appellants who were

non-members of Congress.” Id. at 1346. But the D.C. Circuit reversed, finding that the rules at

issue were “matters committed by the Constitution to the Legislative Department” and therefore

the Speech or Debate Clause barred the suit. Id. The court found that even though the

defendants “were not engaged in the consideration and passage or rejection of proposed

legislation,” the Clause protected them because “[t]hey were enforcing internal rules of Congress

validly enacted under authority specifically granted to the Congress and within the scope of

authority appropriately delegated by it.” Id. at 1350. Controlling who had access to the press

galleries constituted functions that “were an integral part of the legislative machinery.” Id.




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       The Court finds that Consumers Union controls; Plaintiffs’ efforts to distinguish the case

are unconvincing. 5 If rules controlling access to the press galleries are “an integral part of the

legislative machinery,” rules controlling how Members vote are even more so. Id. The proxy

voting rules constitute “regulation of the very atmosphere in which lawmaking deliberations

occur.” Walker, 733 F.2d at 930 (discussing Consumers Union). Plaintiffs’ claim that

Consumers Union should not apply because proxy voting has never been used before, Pls.’ Reply

at 19–20, does not change the fact that it has become part of “the legislative machinery” by

which the House operates today, Consumers Union, 515 F.2d at 1350. And the House

unquestionably has the authority, under the Constitution, to “determine the Rules of its

Proceedings.” U.S. Const. art. I, § 5, cl. 2. The Court can conceive of few other actions, besides

actually debating, speaking, or voting, that could more accurately be described as “legislative”

than the regulation of how votes may be cast. And Plaintiffs’ suggestion during oral argument

that Consumers Union is an outlier case does not change that it is binding precedent for this

Court and has been reaffirmed in subsequent cases. See Barker v. Conroy, 921 F.3d 1118, 1127–

28 (D.C. Cir. 2019); Rangel, 785 F.3d at 24 (quoting Consumers Union, 515 F.2d at 1351)

(“Congress’s ‘execution of internal rules’ is ‘legislative’”). 6 This Court is no freer to contradict



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          Plaintiffs suggested that Consumers Union could be distinguished because the plaintiff
only brought an as-applied challenge whereas here Plaintiffs challenge the validity of the proxy
voting rules “in toto.” Pls.’ Reply at 19. The Court does not find this distinction convincing. As
Defendants note, the plaintiff in Consumers Union did put forth a facial challenge to the rules,
see 515 F.2d at 1345–46, and “[a]n act does not lose its legislative character simply because a
plaintiff alleges that it violated . . . the Constitution.” Defs.’ Reply at 11 (quoting Rangel, 785
F.3d at 24 (citations omitted)).
       6
         The implications of the broad immunity conferred by the Clause, while important for
ensuring an independent legislative body, may be troubling. See Brewster, 408 U.S. at 516
(“[T]he Clause is a very large, albeit essential, grant of privilege. It has enabled reckless men to
slander and even destroy others with impunity.”). But the present case does not involve
hypothetical rules, discussed at oral argument, that deprive Members of votes on a


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Consumers Union because it may be an outlier than it is to contradict Michel because it may

have been implicitly overruled by Raines.

                                     IV. CONCLUSION

       For the foregoing reasons, the Court finds that Defendants are immune from suit under

the Speech or Debate Clause and therefore GRANTS Defendants’ Motion to Dismiss and

DENIES Plaintiffs’ Motion for Preliminary Injunction. An order consistent with this

Memorandum Opinion is separately and contemporaneously issued.


Dated: August 6, 2020                                           RUDOLPH CONTRERAS
                                                                United States District Judge




discriminatory basis. Therefore, the Court need not decide whether immunity would apply in a
such a case.


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